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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 MICHAEL GONIDAKIS, et al,

                Plaintiffs,                           Case No. 2:22-cv-0773

         v.                                           Chief Judge Algenon L. Marbley

 OHIO REDISTRICTING                                   Magistrate Judge Elizabeth P. Deavers
 COMMISSION, et al.,

                Defendants.

  ORDER SETTING LOCAL RULE 65.1 CONFERENCE AND BRIEFING SCHEDULE

         This matter is set for a status conference pursuant to Local Rule 65.1 on Monday, March

 7, 2022, beginning at 9:30 a.m. Counsel for the parties are to appear in Courtroom 1, Room 331

 of the U.S. Courthouse located at 85 Marconi Boulevard in Columbus, Ohio. The status conference

 may not be continued by stipulation of the parties or counsel, but only by an order of the Court on

 good cause shown. Proceedings will be open to the interested public.

         At the status conference, the Court will address Plaintiffs' Motion for a Preliminary

 Injunction (ECF No. 10) and any issues necessary for a just resolution of the pending action.

         Separately, Plaintiffs have reported to the Court that they intend to oppose the Motion to

 Intervene filed by Vernon Sykes and Allison Russo (ECF No. 6). The Court orders expedited

 briefing on this matter. Plaintiffs' opposition brief is due by 12:00 noon on March 2, 2022, and

 the reply brief of Proposed Intervenors Sykes and Russo is due by 12:00 noon on March 3,

 2022.

         IT IS SO ORDERED.



 DATED: February 28, 2022
